     CONFIDENTIAL         SETTLEMENT        AGREEMENT        AND GENERAL RELEASE

        This Confidential Settlement Agreement and General Release (,'Agreement") is made and
entered into by and between COGENT COMMUNICA TJONS, INC. ("COGENT") and MARK
RYAN ALLEN on behalf of himself, his heirs, executors, administrators, successors, and assigns
(singularly and collectively referred to throughout this Agreement as "ALLEN").

        WHEREAS, a bona tide dispute has arisen between ALLEN and COGENT concerning
allegations that ALLEN has made in a Complaint styled as Mark Ryan Allen. et al. v. Cogent
Communications. Inc., Civil Action No. 1:14-cv-00459-JCC-TRJ, currently pending in the
United States District COUJtfor the Eastern District of Virginia, Alexandria Division (referred to
hereafter as the "Lawsuit");

        WHEREAS, COGENT denies the validity of ALLEN's claims and denies that it is
subject to any liability;

        WHEREAS, the patties wish to resolve and settle their differences without resort to
further litigation; and

        NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
agreements set forth herein, which covenants and agreements constitute good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
agree to be legally bound by the following terms and conditions, which constitute full settlement
of any and all disputes between them:

       1.     Recitals. The parties acknowledge that the "WHEREAS" clauses preceding
Paragraph 1 are true and correct, and are incorporated herein as material parts to this Agreement.

       2.      Consideration. In consideration for signing this Agreement and compliance with
the promises made herein, COGENT shall pay to ALLEN the total sum of THIRTEEN
THOUSAND ONE HUNDRED TWENTY -FrVE DOLLARS AND ZERO CENTS
($}3,125.00), allocated as follows:

               u.    COGENT shall issue payment in the amount of THREE THOUSAND
NINE HUNDRED TWELVE DOLLARS AND FIFTY CENTS ($3,912.50), less all lawful
taxable deductions, made at the usual and customary rate, made payable to "Mark Ryan Allen"
The payment referenced in this subparagraph 2(a) represents the recovery of wages.

              b.     COGENT shall issue payment in the amount of THREE THOUSAND
NINE HUNDRED TWELVE DOLLARS AND FIFTY CENTS ($3,912.50), made payable to
"Mark Ryan Allen" The payment referenced in this subparagraph 2(b) represents the recovery of
sums other than wages, for which the appropriate IRS Form 1099 shall be issued.

             c.     COGENT shall issue payment in the amount of FIVE THOUSAND
THREE HUNDRED DOLLARS AND ZERO CENTS ($5,300.00), made payable to "Zipin,
Amster & Greenberg, LLC," tax identification number XX-XXXXXXX. The payment referenced in




                                                                                              EXHIBIT 1
this subparagraph 2(c) represents the recovery of attorneys' fees and/or costs, for which the
appropriate IRS Form 1099 shall be issued.

            d.    The settlement proceeds discussed above shall be delivered to counsel for
ALLEN within ten (10) business days of the satisfaction of all of the following conditions
precedent:

                       (1)     receipt by counsel for COGENT of this Agreement executed by
                               ALLEN; and

                       (2)     receipt by counsel for COGENT of an IRS Form W-9 and un TRS
                               Form W-4 fully executed by ALLEN and an IRS Form W-9 fully
                               executed by counsel for ALLEN.

                e.     The parties agree and acknowledge that Court approval of this Agreement
is necessary to provide for a full and complete release of any claims that ALLEN alleges under
the Fair Labor Standards Act ("FLSA"). As a result, the parties agree to submit a Joint Motion
to Approve Settlement and Joint Stipulation for Dismissal. Counsel for ALLEN shall hold all of
the settlement proceeds in escrow until the Court issues an order in the Lawsuit approving this
Agreement and dismissing with prejudice all claims that ALLEN asserted or could have asserted
in the Lawsuit against COGENT. The parties agree and acknowledge that Court approval of this
Agreement is a material term of the settlement between ALLEN and COGENT. The parties
further agree and acknowledge that if the Court does not approve of this Agreement and dismiss
with prejudice all claims that ALLEN asserted or could have asserted in the Lawsuit against
COGENT, then this Agreement shall automatically terminate without any further action by the
parties and this Agreement shall be nulJ and void and have no further force and effect. In such
event, nothing in this Agreement, or the fact that the parties attempted to enter into this
Agreement, shall be used or construed by or against any party as a determination, admission, or
concession of any issue of law or fact in the Lawsuit, and the parties do not waive, and instead
 expressly reserve, their respective rights with respect to the prosecution and defense of the
Lawsuit as if the Agreement never existed. Further, if this Agreement becomes null and void,
 then counsel for ALLEN shall deliver to COGENT within five (5) business days any and all
 settlement proceeds previously delivered to counsel for ALLEN.

                f.     ALLEN acknowledges that he specifically directed the allocation of the
settlement proceeds between ALLEN and his counsel. ALLEN acknowledges that COGENT did
not participate in any way or make any representation regarding the allocation of the settlement
proceeds. The parties agree to bear their own attorneys' fees and costs, except as otherwise
provided in this Agreement.

                g.      Any employee tax obligation arising from the payments made to ALLEN
under subparagraph 2(b) of this Agreement will be ALLEN's sole responsibility. ALLEN
hereby agrees that in the event the United States Internal Revenue Service, or any federal, state,
or local government agency requires COGENT to pay for or on behalf of ALLEN any amount in
the nature of federal, state, or local taxes or surcharges, or any interest or penalties related to the
above-referenced payment, ALLEN shall (1) reimburse COGENT for any such amounts paid out



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or payable, (2) indemnify and hold COGENT harmless for such amounts, and (3) defend andlor
pay all attorneys' fees necessary to defend COGENT in any and all actions brought against it to
recover such amounts. ALLEN acknowledges that he has not relied on any statements or
representations by COG ENT wi th respect to the tax treatment of such payments.

        3.      No Consideration Absent Execution of this Agreement. ALLEN understands
and agrees that he would not receive the monies and/or benefits specified in paragraph 2 of this
Agreement without his execution of this Agreement and the fulfillment of the promises
contained in this Agreement. The payments reflected in paragraph 2 of this Agreement are made
in full and final settlement and resolution of the claims that ALLEN asserted or could have
asserted in the Lawsuit.

         4.      Release of Claims. ALLEN knowingly and voluntarily releases and forever
discharges, to the fu1lest extent permitted by Jaw, COGENT, its parent corporations, affiliates,
subsidiaries, parents' subsidiaries, divisions, predecessors, successors, assigns, joint employers,
related companies, and the current and former employees, officers, directors, owners, executives.
managers, contractors, insurers, committees, fiduciaries, executors, administrators, shareholders,
representatives, attorneys, and agents thereof, and all persons and entities acting by, through,
under, or in concert with any of the persons or entities referenced above (all collectively referred
to throughout this Agreement as the "Released Parties"), of and from any and a1l claims,
demands, actions, causes of action, costs, attorneys' fees, and all liabilities whatsoever, whether
known and unknown, asserted and unasserted, fixed or contingent, which ALLEN has, had, or
may ever have against any of the Released Patties from the beginning of time and up to and
including the date ALLEN executes this Agreement. ALLEN's released claims include, without
limitation: (i) a1l claims relating to or arising out of his compensation, employee benefits, fringe
benefits, vacation pay, sick leave pay, hiring, employment, terms and conditions of employment,
and separation from employment with any of the Released Parties; (ii) all claims asserted or that
could have been asserted by him in the Lawsuit; (iii) all claims under any local, state, or federal
wage-and-hour law conceming the payment of wages, including, without limitation, claims for
unpaid overtime or other wages under the Virginia Minimum Wage Act or Virginia Code
Sections 40.1-29-40.1-33; (iv) all claims, known or unknown, that he asserted or could have
asserted against any of the Released Parties, at law or in equity, or sounding in contract (express
or implied) or tort, including claims arising under any federal, state, or local laws of any
jurisdiction that prohibit age, sex, gender, race, national origin, color, disability, religion,
veteran, military status, sexual orientation, or any other form of discrimination, harassment, or
retaliation, including, without limitation, any alleged violation of:

    •   Title Vll of the Civil Rights Act of 1964, as amended;
    •   The Civil Rights Act of 1991;
    •   Sections 1981 through 1988 of Title 42 of the United States Code, as amended;
    •   The Employee Retirement Income Security Act of 1974, as amended;
    •   The Family and Medical Leave Act of 1993, as amended;
    •   The Immigration Reform and Control Act, as amended;
    •   The Fair Labor Standards Act, as amended;
    •   The Equal Pay Act, as amended;
    •   The Age Discrimination in Employment Act; as amended;


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   •   The Americans with Disabilities Act, as amended;
   •   The Workers Adjustment and Retraining Notification Act, as amended;
   •   The Occupational Safety and Health Act, as amended;
   •   The Sarbanes-Oxley Act of 2002;
   •   The Virginia Fraud and Abuse Whistle Blower Protection       Act;
   •   The   Virginia Human Rights Act;
   •   The   Rehabilitation Act, as amended;
   •   The   Lilly Ledbetter Fair Pay Act;
   •   The   Genetic Information and Nondiscrimination    Act;
   • The Civil Rights Act of 1866 and/or 1871;
   • . The Employee Polygraph Protection Act;
   • The Uniformed Services Employment and Reemployment Rights Act of 1994;
   • Section 1558 of the Patient Protection and Affordable Care Act of20 10;
   • The Consolidated Omnibus Budget Reconciliation Act of 1985; and
   •   The National Labor Relations    Act; and

(v) claims under any other federal, state, local, municipal, or common law whistleblower
protection, discrimination, wrongful discharge, civil or human rights, anti-harassment, or anti-
retaliation statute, regulation,  or ordinance; (vi) claims for costs, fees, or other expenses
including attorneys' fees incurred in the Lawsuit; and (vii) any other statutory. contractual, or
common law claims related to or arising out of ALLEN's employment or separation from
employment with COGENT, the Lawsuit and all alleged incidents or occurrences giving rise to
ALLEN's claims in the Lawsuit, any claims ALLEN asserted or could have asserted in the
Lawsuit, and any other disputes, known or unknown, that existed or exist among or between
ALLEN and any of the Released Patties. The parties acknowledge that this Agreement shan not
apply to rights or claims that may arise after the date ALLEN executes this Agreement.
Additionally, nothing in this paragraph 4 or this Agreement is intended to limit or restrict any
rights that cannot, by express and unequivocal terms of law, be limited, waived, or extinguished.
ALLEN understands and agrees that he is releasing all of the Released Parties from any and all
claims by which he is giving up the opportunity to recover any compensation, damages, or any
other form of relief in any proceeding brought by him or on his behalf.

       5.       Affirmations.

               a.     ALLEN      affirms that he has not filed, caused to be filed, or presently is a
party to any claim, complaint,   or action against COGENT in any forum or form, except for the
Lawsuit.

                b.     ALLEN further affirms that he has been paid and/or has received all leave
(paid or unpaid), compensation, wages, bonuses, commissions, and/or benefits to which he may
be entitled and that no other leave (paid or unpaid), compensation, wages, bonuses, commissions
and/or benefits are due to him, except as provided for in this Agreement.

        6.      No Re-Application   for Employment.   ALLEN permanently, unequivocally, and
unconditionally  waives any and all rights that he may now have, may have had in the past, or
may have in the future to obtain or resume employment with COGENT. ALLEN agrees that he


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will not apply for employment with COGENT and acknowledges       that any application for
employment he makes to COGENT may be rejected without cause and without any liability
whatsoever.   ALLEN understands and acknowledges that COGENT is and never shall be under
any obligation to re-employ him, and COGENT's refusal to re-employ him will not subject
COGENT       to liability on any grounds.

        7.     Non-Disparagement.    ALLEN agrees that he will not in the future (a) talk about
or otherwise communicate to any third party in a malicious, disparaging, or defamatory manner
regarding COGENT, or (b) make or authorize to be made any written or oral statement that may
disparage the reputation    of COGENT.

        8.       Neutral  Reference.   COGENT agrees to provide a neutral reference of
employment     for ALLEN upon receiving a request for reference from any prospective employer
or reference   check in which COGENT shall only confirm ALLEN's dates of employment with
COGENT.

        9.       Confidentiality.

                 a.        In consideration of the obligations under this Agreement, ALLEN agrees
that this Agreement, the terms and conditions hereof, and the underlying facts and circumstances
of the claims alleged in the Lawsuit are strictly, and shall forever remain, confidential, and that
neither he, nor his respective            heirs, agents, executors,   administrators,  attorneys, legal
representatives,    directors, officers, and assigns shall disclose or disseminate any infom1ation
concerning any such terms to any third persorus), including, but not limited to, representatives of
the media or former or current employees of COGENT, under any circumstances, except that he
may disclose the terms of this Agreement to his attorneys, spouse, accountants, tax advisors, and
other similar professionals or the Internal Revenue Service, bank regulators, or other appropriate
federal or state agencies ("Third Parties").       Any Third Party to whom such disclosure is made
shall agree in advance to be bound by the terms of this paragraph.             If ALLEN is required to
disclose this Agreement or its terms or underlying facts pursuant to court order and/or subpoena,
then he shall so notify COGENT, in writing via facsimile or overnight mail, within seventy-two
 (72) hours of receipt of such court order or subpoena, and shall simultaneously              provide to
 COGENT a copy of such court order or subpoena.               The notice shall be provided to: Cogent
 Communications,       lnc., Attention: Robert Beury, Esq. (Vice President and General Counsel),
 1015 31st Street, N.W., Washington, D.C. 20007; Facsimile: (202) 338-8798.

                b.       The parties acknowledge and agree that the terms of paragraph 9(a) of this
 Agreement are a material inducement for the execution of this Agreement.            Any actual or
 threatened disclosure or dissemination, other than as described above in paragraph 9(a), of this
 Agreement, the terms and conditions hereof: and/or the underlying facts and circumstances of the
 claims alleged in the Lawsuit, will be regarded as a breach of this Agreement and a cause of
 action shall immediately accrue for damages and injunctive relief.

              c.     Consistent  with the confidentiality   provisions  contained in this
 Agreement, and as a material inducement for entering into this Agreement, ALLEN further
 acknowledges that his counsel will jointly request with COGENT that this Agreement be




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submitted for an in camera review andlor filed under seal as part of the parties' Joint Motion to
Approve Settlement with the Court.

         10.    Governing Law and [nterpretation.      This Agreement shall be governed by and
construed in accordance with the laws of the State of Virginia without regard to its conflict of
laws principle. In the event that any party breaches any provision of this Agreement, the parties
affirm that they may institute an action to specifically enforce any term or terms of this
Agreement. The prevailing party shall be entitled to recover attorneys' fees and costs from the
non-prevailing party in any enforcement action. Should any provision of this Agreement be
declared illegal or unenforceable by any court of competent jurisdiction and cannot be modified
to be enforceable, excluding the release language, such provision shall immediately become null
and void, leaving the remainder of this Agreement in full force and effect. The parties agree that
the U.S. District Court for the Eastern District of Virginia, Alexandria Division shall retain
jurisdiction to enforce the terms of this Agreement

       11.     Nonadmission of Wrongdoing. The parties agree that neither this Agreement
nor the furnishing of the consideration for this Agreement shall be deemed or construed at
anytime for any purpose as an admission by COGENT of any liability or unlawful conduct of
any kind.

      12.    Amendment. This Agreement may not be modified, altered, or changed except
upon express written consent of both parties wherein specific reference is made to this
Agreement.

        13.     Successors and Assigns. This Agreement shall be binding upon the parties hereto
and upon their heirs, administrators, representatives, executors, divisions, parents, subsidiaries,
parents' subsidiaries, affiliates, partners, limited partners, successors, and assigns, and shall inure
to the benefit of said parties and each of them and to their heirs, administrators, representatives,
executors, divisions, parents, subsidiaries, parents' subsidiaries, affiliates, partners, limited
partners, successors, and assigns. ALLEN expressly warrants that he has not transferred to any
person or entity any rights or causes of action, or claims released by this Agreement.

        14.    Selective Enforcement. The parties agree that the failure of any party to enforce
or exercise any right, condition, tenu, or provision of this Agreement shall not be construed as or
deemed to be a waiver or relinquishment thereof, and the same shall continue in full force and
effect.

         15.    Counte,·partsj  Copy of Agreement Valid.           The parties agree tbat this
Agreement may be executed in any number of counterparts, each of which shall be deemed an
original, but all of which together shall be deemed one and the same instrument. The parties
further agree that executed copies of this Agreement shall be valid and binding, in the event the
original executed counterparts to the Agreement are missing.

        16.    Construction. This Agreement shall be construed as a whole according to its fair
meaning and intent, and not strictly for or against any party, regardless of who drafted or who
was principally responsible for drafting this Agreement, or any specific term or condition
thereof. ALLEN and COGENT participated in the negotiation and drafting of this Agreement



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and had available to them the advice and assistance of independent counsel. As such, neither
party may claim that any ambiguity in this Agreement should be construed against the other.

         17.    Entire Agreement.    This Agreement sets forth the entire agreement between the
parties hereto, and fully supersedes any and all prior oral or written agreements, promises, or
understandings between or among the parties pertaining to the subject matter in this Agreement.
ALLEN acknowledges        that he has not relied on any prior oral or written representations.
promises, statements, communications,    inducements, understandings, or agreements of any kind
made to him in connection with his decision to accept this Agreement, except for those set forth
in this Agreement. Therefore, ALLEN understands that he is precluded from bringing any fraud
or similar claim against any of the Released Parties associated with any such representations,
promises, statements, communications,    inducements, understandings, or agreements. The parties
are entering into this Agreement based on their own judgment.

         18.     Miscellaneous.    Notwithstanding  any other provision of this Agreement to the
contrary, the parties agree that this Agreement is not intended to prevent ALLEN from filing a
charge or claim with any governmental agency charged with investigating employment claims,
including, but not limited to, the Equal Employment            Opportunity    Commission,    or, from
participating   in, cooperating with, or providing truthful evidence in connection with an
investigation    being conducted     by a governmental      agency responsible      for investigating
employment claims.        ALLEN, however, understands and agrees that, based on his release of
claims in this Agreement, any filing or participation does not give him the right to recover
personally     any monetary      amounts    or equitable   relief (including,    without   limitation,
reinstatement, back pay, front pay, damages, liquidated damages, or attorneys' fees) against any
 of the Released Parties in addition to the payments provided for in this Agreement.




      ALLEN IS HEREBY ADVISED THAT HE HAS A REASONABLE        PERIOD OF
 TIME  TO REVIEW   THIS CONFIDENTIAL     SETTLEMENT     AGREEMENT   AND
 GENERAL  RELEASE  AND THAT HE SHOULD CONSULT        WITH AN ATTORNEY
 PRIOR TO EXECUTION    OF THIS CONFIDENTIAL    SETTLEMENT    AGREEMENT
 AND GENERAL        RELEASE.

       HAVING   ELECTED   TO EXECUTE     THIS CONFIDENTIAL     SETTLEMENT
 AGREEMENT    AND GENERAL     RELEASE,  TO FULFILL   THE PROMISES    AND TO
 RECEIVE THE SlJMS AND BENEFITS     IN PARAGRAPH   2 ABOVE, ALLEN FREELY
 AND KNOWINGLY,      AND AFTER DUE CONSIDERATION,        ENTERS   INTO THIS
 CONFIDENTIAL     SETTLEMENT      AGREEMENT      AND    GENERAL     RELEASE
 INTENDING   TO W AlVE, SETTLE, AND RELEASE ALL CLAIMS HE HAS, HAD, OR
 MAY EVER HAVE AGAINST COGENT AND/OR ALL OF THE RELEASED PARTIES.




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IN WITNE~S WHEREOF, the parties hereto kllilWHII·dy .llld vulunt.urly                       (·xccLll~d rhtx
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 COGENT COMMUNICATJONS.INC.:




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